                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39                     Desc Main
Fill in this information to identify the case:
                                                            Document     Page 1 of 13
Debtor name   BOTW Holdings, LLC
United States Bankruptcy Court for the:                                   District of   Delaware
                                                                                        (State)
Case number (If known):
                            24-20138
                                                                                                                            Check if this is an
Official Form 206E/F                                                                                                        amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                            12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                    Total Claim          Priority Amount
2.1        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $691.00               UNKNOWN
s16        ALYSSA MATUSKA                                      Check all that apply.
           43 PANORAMA LANE                                       Contingent
           CODY, WY 82414                                         Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.2        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $793.94               UNKNOWN
s18        CHRISTOPHER MOTA-HERNANDEZ                          Check all that apply.
           665 BEARTOOTH DRIVE                                    Contingent
           POWELL, WY 82435                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.3        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $865.66               UNKNOWN
s19        COLE REDMOND                                        Check all that apply.
           743 LANE 36                                            Contingent
           BURLINGTON, WY 82411                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 2 of 13
  Debtor Name                                                                                                  Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.4        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $918.25                UNKNOWN
s13        EMILY GRANT                                         Check all that apply.
           30 SPICER LANE                                         Contingent
           PO BOX 2261                                            Unliquidated
           CODY, WY 82414                                         Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.5        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $1,147.69                UNKNOWN
s11        ERNEST COOK                                         Check all that apply.
           868 LANE 36                                            Contingent
           BURLINGTON, WY 82411                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.6        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $770.87                UNKNOWN
s1         GRADY STOVEY                                        Check all that apply.
           1058 ROAD 8                                            Contingent
           POWELL, WY 82435                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.7        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $3,994.29                UNKNOWN
s2         IRS                                                 Check all that apply.
           CENTRALIZED INSOLVENCY OPERATIONS                      Contingent
           PO BOX 7346                                            Unliquidated
           PHILADELPHIA, PA 19101-7346                            Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           ACCRUED 941 TAXES FOR PPE 4/24/24; PD ON
                                                               5/8/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 2 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 3 of 13
  Debtor Name                                                                                                  Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.8        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $7,217.52                UNKNOWN
s20        IRS                                                 Check all that apply.
           CENTRALIZED INSOLVENCY OPERATIONS                      Contingent
           PO BOX 7346                                            Unliquidated
           PHILADELPHIA, PA 19101-7346                            Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           4/19/2024 PPE 4/19/2 941 TAXES PD 4/24/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.9        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                         $22.51                UNKNOWN
s21        IRS                                                 Check all that apply.
           CENTRALIZED INSOLVENCY OPERATIONS                      Contingent
           PO BOX 7346                                            Unliquidated
           PHILADELPHIA, PA 19101-7346                            Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               ACCRUED 940 TAXES 4/1/24-4/19/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.10       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $658.90                UNKNOWN
s22        IRS                                                 Check all that apply.
           CENTRALIZED INSOLVENCY OPERATIONS                      Contingent
           PO BOX 7346                                            Unliquidated
           PHILADELPHIA, PA 19101-7346                            Disputed


           Date or dates debt was incurred                     Basis for the claim:
           3/31/24                                             3/31/24 - 2024-Q1 940 TAXES PAID 4/30/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.11       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $1,090.31                UNKNOWN
s17        JACOB MICHALETZ                                     Check all that apply.
           1209 BLUE WATER COURT                                  Contingent
           CODY, WY 82414                                         Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 4 of 13
 Debtor Name                                                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.12       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $1,096.58                UNKNOWN
s14        JAMES KINDT                                         Check all that apply.
           3402 APPALACHIAN AVE                                   Contingent
           PO BOX 2935                                            Unliquidated
           CODY, WY 82414                                         Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.13       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $739.83                UNKNOWN
s9         JASON BYERLEY                                       Check all that apply.
           43 BATTLEFILED TRAIL                                   Contingent
           POWELL, WY 82435                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.14       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $832.11                UNKNOWN
s12        MADDISON GAIL                                       Check all that apply.
           1726 1/2 ALGER AVE                                     Contingent
           APT 1                                                  Unliquidated
           CODY, WY 82414                                         Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.15       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $693.48                UNKNOWN
s7         MORGAN ALLISON                                      Check all that apply.
           2113 FRANKLIN ST APT #1                                Contingent
           PO BOX 396                                             Unliquidated
           MEETEETSE, WY 82433                                    Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 5 of 13
 Debtor Name                                                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.16       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $636.08                UNKNOWN
s6         PARK COUNTY TREASURER                               Check all that apply.
           1002 SHERIDAN AVE                                      Contingent
           SUITE 3                                                Unliquidated
           CODY, WY 82414                                         Disputed


           Date or dates debt was incurred                     Basis for the claim:
           11/10/23                                            PERSONAL PROPERTY TAX (2023 2ND HALF)
                                                               PD 4/30/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.17       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $1,663.30                UNKNOWN
s10        RYAN CHALUPSKY                                      Check all that apply.
           3613 MAPLE LEAF AVE                                    Contingent
           CODY, WY 82414                                         Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.18       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $954.92                UNKNOWN
s15        TERENCE KNUDSEN                                     Check all that apply.
           704 NORTH 2770 WEST                                    Contingent
           PROVO, UT 84601                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.19       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $851.54                UNKNOWN
s8         TIMOTHY BUSHNELL                                    Check all that apply.
           1201 MEADOW LANE                                       Contingent
           CODY, WY 82414                                         Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/2024                                           50% OF NET PAYROLL FOR PPE 4/24/24; PD
                                                               ON 5/3/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 6 of 13
 Debtor Name                                                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.20       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $242.53                UNKNOWN
s3         UTAH STATE TAX COMMISSION                           Check all that apply.
           210 N 1950 W,                                          Contingent
           SALT LAKE CITY, UT 84134                               Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               ACCRUED UTAH WH TAXES 4/1/24-4/19/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.21       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                        $582.06                UNKNOWN
s23        UTAH STATE TAX COMMISSION                           Check all that apply.
           210 N 1950 W,                                          Contingent
           SALT LAKE CITY, UT 84134                               Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           3/31/24                                             3/31/24 - 2024Q1 UTAH WH TAXES PAID 4/30/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.22       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                         $41.54                UNKNOWN
s5         UTAH UI TAX                                         Check all that apply.
           UTAH DEPARTMENT OF WORKFORCE SERVICES                  Contingent
           140 EAST 300 SOUTH                                     Unliquidated
           SALT LAKE CITY, UT 84145-0288                          Disputed


           Date or dates debt was incurred                     Basis for the claim:
           3/31/24                                             2024Q1 UTAH UI PAID 4/30/24

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.23       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                         $17.31                UNKNOWN
s24        UTAH UI TAX                                         Check all that apply.
           UTAH DEPARTMENT OF WORKFORCE SERVICES                  Contingent
           140 EAST 300 SOUTH                                     Unliquidated
           SALT LAKE CITY, UT 84145-0288                          Disputed


           Date or dates debt was incurred                     Basis for the claim:
           4/19/24                                             4/19/24 - ACCRUED UTAH UI FOR Q2

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 6 of 13
                 Case 24-20138                Doc 79       Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                              24-20138
                                                            Document     Page 7 of 13
 Debtor Name                                                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                      Total Claim           Priority Amount
2.24       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $3,724.44                UNKNOWN
s4         WYOMING DEPT OF WORKFORCE SERVICES                  Check all that apply.
           5221 YELLOWSTONE ROAD,                                 Contingent
           CHEYENNE, WY 82002                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           3/31/24                                             2024Q1 WYOMING UI + WORK COMP PAID
                                                               4/30/24
           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page 7 of 13
                 Case 24-20138               Doc 79             Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
  BOTW Holdings, LLC                                                                                  24-20138
                                                                 Document     Page 8 of 13
  Debtor Name                                                                                                         Case Number (if known)


Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                                  Amount of Claim

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
3. 1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                             $1,466.46
s130       AFLAC                                                              Check all that apply.
           PO BOX 673025                                                         Contingent
           DALLAS, TX 75267                                                      Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   4/11/2024                        Basis for the claim:    EMPLOYEE PREMIUM FOR MAY

           Last 4 digts of account number    SA85
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                             $3,840.28
s131       AFLAC-ARGUS                                                        Check all that apply.
           PO BOX 673025                                                         Contingent
           DALLAS, TX 75267                                                      Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   1/2023-8/2023                    Basis for the claim:
                                                                                                      PREMIUM NOT BILLED CORRECTLY AND NEVER PAID;
           Last 4 digts of account number    8833                                                     SWITCHED PROVIDERS
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                             ($100.00)
s132       ANTLERS REALTY, INC.                                               Check all that apply.
           802 CANYON AVE                                                        Contingent
           CODY, WY 82414                                                        Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   4/5/2024                         Basis for the claim:
                                                                                                      PAYMENT FOR DONATION TOWARDS MAY FUNDRAISER
           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                             $1,495.24
s133       AVALARA INC                                                        Check all that apply.
           255 S KING STREET #1800                                               Contingent
           SEATTLE, WA 98104                                                     Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   3/31/24 & 4/6/24                 Basis for the claim:    SOFTWARE FOR CALCUATING SALES TAX

           Last 4 digts of account number    3130
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 8 of 13
                 Case 24-20138               Doc 79          Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
  BOTW Holdings, LLC                                                                               24-20138
                                                              Document     Page 9 of 13
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                              Amount of Claim
3. 5       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                              $781.75
s134       BLACK HILLS ENERGY (BHE)                                       Check all that apply.
           PO BOX 7966                                                       Contingent
           CAROL STREAM, IL 60197                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   4/12/24                      Basis for the claim:    PRIOR MONTH NATURAL GAS USAGE

           Last 4 digts of account number    2731
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 6       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                             $1,326.77
s135       CITY OF CODY UTILITIES                                         Check all that apply.
           1338 RUMSEY AVE                                                   Contingent
           PO BOX 2200                                                       Unliquidated
           CODY, WY 82414                                                    Disputed


           Date or dates debt was incurred   4/8/24                       Basis for the claim:    PRIOR MONTH ELECTRIC & WATER USAGE

           Last 4 digts of account number    2014
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 7       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                              $253.10
s137       DEX IMAGING                                                    Check all that apply.
           PO BOX 17299                                                      Contingent
           CLEARWATER, FL 33762                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   4/10/24                      Basis for the claim:    MONTHLY LEASE PAYMENT

           Last 4 digts of account number    360S
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 8       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $2,500,000.00
s138       FIRST BANK OF WYOMING                                          Check all that apply.
           1507 8TH ST                                                       Contingent
           CODY, WY 82414                                                    Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LOC

           Last 4 digts of account number    0870
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 9 of 13
                 Case 24-20138               Doc 79          Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
  BOTW Holdings, LLC                                                                               24-20138
                                                             Document      Page 10 of 13
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 9       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $2,441,523.57
s172       JOHN MCCALL                                                    Check all that apply.
           PO BOX 22409                                                      Contingent
           CHEYENNE, WY 82003                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    JUDGMENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 10      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $245.00
s139       PROFFIT`S ENTERPRISES                                          Check all that apply.
           3201 REESY ROAD                                                   Contingent
           CODY, WY 82414                                                    Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   4/30/24                      Basis for the claim:    APRIL ICE CONTROL & FERTILZATION

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 11      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,400.00
s141       SAFARI CLUB INTERNATIONAL                                      Check all that apply.
           4800 W GATES PASS RD                                              Contingent
           TUCSON, AZ 85745                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   9/30/23                      Basis for the claim:    OVERPAYMENT ON 2024 SCI BOOTH

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 12      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,376.00
s140       SBW & ASSOCIATES PC                                            Check all that apply.
           931 RUMSEY AVE                                                    Contingent
           PO BOX 637                                                        Unliquidated
           CODY, WY 82414                                                    Disputed


           Date or dates debt was incurred   3/31/24                      Basis for the claim:    BOOKKEEPING SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                               page 10 of 13
                 Case 24-20138               Doc 79          Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
  BOTW Holdings, LLC                                                                               24-20138
                                                             Document      Page 11 of 13
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 13      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                                $83.00
s142       TERMINIX OF WYOMING                                            Check all that apply.
           731 N MCKINLEY                                                    Contingent
           CASPER, WY 82601                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   4/15/24                      Basis for the claim:    PEST CONTROL

           Last 4 digts of account number    5137
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 14      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $80,000.00
s143       YELLOWSTONE NATURAL HOLDINGS                                   Check all that apply.
           215 QUAIL RUN RD                                                  Contingent
           SUITE D                                                           Unliquidated
           BOZEMAN, MT 59718                                                 Disputed


           Date or dates debt was incurred   3/21, 3/28                   Basis for the claim:    OPERATING LOAN

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                               page 11 of 13
                   Case 24-20138                  Doc 79          Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
  BOTW Holdings, LLC                                                                                    24-20138
                                                                  Document      Page 12 of 13
  Debtor Name                                                                                                                    Case Number (if known)


Part 3:      List Others to Be Notified About Unsecured Claims
List in alphabetical order any others who must be notified for claims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digts of account
                                                                                                         you enter the related creditor?                 number for this entity




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 12 of 13
                 Case 24-20138       Doc 79      Filed 06/12/24 Entered 06/12/24 13:32:39 Desc Main
 BOTW Holdings, LLC                                                                    24-20138
                                                 Document      Page 13 of 13
 Debtor Name                                                                                   Case Number (if known)


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                   Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                     $30,246.60
                                                                                               ____________________________




                                                                                                           $5,035,691.17
5b. Total Claims from Part 2                                                         5b.   +   ____________________________




5c. Total of Parts 1 and 2                                                           5c.                   $5,065,937.77
                                                                                               ____________________________
    Lines 5a + 5b = 5c.




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                  page 13 of 13
